Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
03/26/2021 08:09 AM CDT




                                                       - 117 -
                               Nebraska Supreme Court Advance Sheets
                                        308 Nebraska Reports
                                          IN RE ESTATE OF BRINKMAN
                                               Cite as 308 Neb. 117



                                   In re Estate of Michael R.
                                      Brinkman, deceased.
                           Nicole Brinkman, appellee, v. Seth Michael
                            Brinkman and Kimberly Milius, Personal
                            Representative of the Estate of Michael
                              R. Brinkman and as parent and next
                               friend of Seth Michael Brinkman,
                                      a minor, appellants.
                                                   ___ N.W.2d ___

                                        Filed January 8, 2021.   No. S-20-235.

                 1. Jurisdiction: Statutes. Subject matter jurisdiction and statutory inter-
                    pretation present questions of law.
                 2. Jurisdiction: Appeal and Error. A jurisdictional question which does
                    not involve a factual dispute is determined by an appellate court as a
                    matter of law.
                 3. Judgments: Appeal and Error. An appellate court independently
                    reviews questions of law decided by a lower court.
                 4. Wills: Trusts. The interpretation of the words in a will or a trust pre­
                    sents a question of law.
                 5. Decedents’ Estates: Judgments: Appeal and Error. When reviewing
                    questions of law in a probate matter, an appellate court reaches a conclu-
                    sion independent of the determination reached by the court below.
                 6. Jurisdiction: Words and Phrases. Subject matter jurisdiction is the
                    power of a tribunal to hear and determine a case in the general class or
                    category to which the proceedings in question belong and to deal with
                    the general subject matter involved.
                 7. Decedents’ Estates: Appeal and Error. Nebraska’s statutory grant of
                    the right to appeal under Neb. Rev. Stat. § 30-1601(2) (Cum. Supp.
                    2018) is generous.
                 8. Decedents’ Estates: Wills: Intent. The cardinal rule concerning a
                    decedent’s will is the requirement that the intention of the testator shall
                    be given effect, unless the maker of the will attempts to accomplish
                                     - 118 -
            Nebraska Supreme Court Advance Sheets
                     308 Nebraska Reports
                        IN RE ESTATE OF BRINKMAN
                             Cite as 308 Neb. 117
      a purpose or to make a disposition contrary to some rule of law or
      public policy.
 9.   Wills. When language in a will is clear and unambiguous, construction
      of a will is unnecessary and impermissible.
10.   Decedents’ Estates: Wills. A latent ambiguity exists when the testa-
      tor’s words are susceptible of more than one meaning, and the uncer-
      tainty arises not upon the words of the will as looked at in themselves,
      but upon those words when applied to the object or subject which
      they describe.
11.   Wills: Intent: Words and Phrases. A patent ambiguity is one which
      exists on the face of an instrument and must be removed by interpreta-
      tion according to legal principles, and the intention of the testator must
      be found in the will.
12.   Words and Phrases. The word “include” means to contain, embrace, or
      comprise, as a whole does parts or any part or element; to place in an
      aggregate, class, category, or the like; and to contain as a subordinate
      element or involve as a factor.
13.   Decedents’ Estates: Wills. A testator will not be held to have disin-
      herited an heir except where that conclusion is impelled by the express
      provisions or by necessary implication from provisions specifically
      set forth.

  Appeal from the County Court for Douglas County: Grant
A. Forsberg, Judge. Affirmed.

   Joseph D. Thornton, of Smith Peterson Law Firm, L.L.P.,
for appellants.

  Ryan P. Watson and Jeffrey A. Wagner, of Wagner, Meehan
&amp; Watson, L.L.P., for appellee.

  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.

   Miller-Lerman, J.
                      NATURE OF CASE
   Nicole Brinkman, the daughter of testator Michael R.
Brinkman, claimed to be entitled to one-half of the residual
share of her father’s testamentary estate and sought a declara-
tion of her rights under her father’s will in the county court
                              - 119 -
         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                   IN RE ESTATE OF BRINKMAN
                        Cite as 308 Neb. 117
for Douglas County. The personal representative for the
estate, Kimberly Milius, and the decedent’s son, Seth Michael
Brinkman, through Milius’ appearing as his next friend,
claimed that the decedent had disinherited Nicole. The county
court agreed with Nicole and determined as a matter of law
that the will is ambiguous with regard to Nicole’s status under
the will; that Nicole is not clearly disinherited; and that Nicole
should receive as a child, an issue, and an heir of the decedent
pursuant to the terms of the will. This appeal filed by Milius
and Seth followed. We affirm.

                    STATEMENT OF FACTS
   Michael died on December 23, 2016, leaving two children,
Nicole and Seth. Michael’s will was admitted for probate,
naming Milius as personal representative. Milius is Seth’s
mother, but not Nicole’s mother. Nicole is the older of the
two children. Nicole objected to the probate of the will and
claimed that she was entitled to an undivided one-half interest
in the estate, less personal effects. Milius appeared for Seth as
next friend.
   Previously, we considered a jurisdictional issue in this mat-
ter. Brinkman v. Brinkman, 302 Neb. 315, 923 N.W.2d 380(2019). In that opinion, we determined that for purposes of
construing the will in this case, the county court had juris-
dictional priority over the district court. Id. The matter was
remanded to the county court, resulting in the order from
which this appeal was taken.
   The relevant portions of the will for purposes of this appeal
are as follows:
                             ARTICLE I.
         The references in this Will to my “son” refer to my
      son, SETH MICHAEL BRINKMAN. The references in
      this Will to my “children” and/or my “issue” shall include
      my son, SETH MICHAEL BRINKMAN, and all children
      of mine born or adopted after the execution hereof.”
         ....
                             - 120 -
         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                   IN RE ESTATE OF BRINKMAN
                        Cite as 308 Neb. 117
                            ARTICLE V.
        I give the residue of my estate to my issue, per stirpes.
        ....
                           ARTICLE VII.
        If at any time before final distribution there shall not
     be in existence anyone who is, or might become, entitled
     to receive benefits under the foregoing provisions of this
     Will, any portion remaining shall be distributed to the
     persons to whom and in the proportions in which the
     same would have been distributed had I died intestate,
     domiciled in the State of Nebraska, owning such assets
     immediately following the death of the last survivor of
     the class composed of my issue and myself.
(Emphasis supplied.) Nicole is not mentioned by name in
the will.
   On remand, Nicole filed a motion to construe the will
and contended that an ambiguity exists in the term “issue”
and asserted that a proper construction of “issue” included
both Nicole and Seth. Milius contended that the will was not
ambiguous and that its terms disinherited Nicole. Following
a hearing, the county court found, inter alia, that the will is
patently ambiguous with regard to whether Michael specifi-
cally intended to disinherit Nicole. The court interpreted the
will and found that its language does not serve to disinherit
Nicole. The court reasoned that the portion of the will defining
“children” and/or “issue” states they “shall include my son,
SETH MICHAEL BRINKMAN” and such terms do not clearly
disinherit Nicole. The county court examined definitions of
“include” and reasoned:
        The Court notes that the inclusion of a named individ-
     ual that was born out of wedlock clearly adds that individ-
     ual to an otherwise identified group of heirs. Potentially
     to avoid an attack that he should be excluded. The word
     include does not mean it’s [sic] opposite. Simply put, to
     include is not to exclude. To include the named individual
     merely adds him to the otherwise definition of “children”
     and “issue.”
                             - 121 -
         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                   IN RE ESTATE OF BRINKMAN
                        Cite as 308 Neb. 117
Thus, the county court determined that Nicole, as the dece-
dent’s daughter, is included under the will as a child, an issue,
and an heir of Michael.
   Milius and Seth filed a motion to alter or amend the order,
which was denied.
   An appeal was taken by Seth, individually, and Milius, rep-
resenting the estate and also purporting to act as next friend to
Seth. During the pendency of the case, the parties agree that
Seth turned 19 years old and reached the age of majority as
defined under Neb. Rev. Stat. § 43-2101 (Supp. 2019).
                ASSIGNMENTS OF ERROR
   Seth and Milius assign, summarized and restated, that the
county court erred when it (1) determined that the will is
patently ambiguous with respect to Nicole’s status and (2)
found that Nicole is not excluded from the definition of “chil-
dren” and “issue” as defined by the will, which they claim
served to expressly disinherit Nicole.
                 STANDARDS OF REVIEW
   [1-3] Subject matter jurisdiction and statutory interpretation
present questions of law. In re Estate of Adelung, 306 Neb.
646, 947 N.W.2d 269 (2020). A jurisdictional question which
does not involve a factual dispute is determined by an appellate
court as a matter of law. Id. An appellate court independently
reviews questions of law decided by a lower court. Id.   [4,5] The interpretation of the words in a will or a trust
presents a question of law. In re Estate of Barger, 303 Neb.
817, 931 N.W.2d 660 (2019). When reviewing questions of
law in a probate matter, an appellate court reaches a conclu-
sion independent of the determination reached by the court
below. Id.                          ANALYSIS
Subject Matter Jurisdiction.
   As an initial matter, we note that during the pendency of
this appeal, Nicole challenged our subject matter jurisdiction
                              - 122 -
         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                   IN RE ESTATE OF BRINKMAN
                        Cite as 308 Neb. 117
over this case based on the statuses of Seth and Milius. As we
explain below, we conclude we have jurisdiction.
   [6] Subject matter jurisdiction is the power of a tribunal to
hear and determine a case in the general class or category to
which the proceedings in question belong and to deal with the
general subject matter involved. In re Estate of Adelung, supra.Lack of subject matter jurisdiction may be raised at any time
by any party or by the court sua sponte. Id. Appellate juris-
diction must be specifically provided by the Legislature for
this court to have jurisdiction over an appeal. See Heckman v.
Marchio, 296 Neb. 458, 894 N.W.2d 296 (2017). “[U]nless a
statute provides for an appeal, such right does not exist.” Id. at
461, 894 N.W.2d at 299.
   [7] In probate cases, Neb. Rev. Stat. § 30-1601(2) (Cum.
Supp. 2018) provides that “[a]n appeal may be taken by any
party and may also be taken by any person against whom the
final judgment or final order may be made or who may be
affected thereby.” (Emphasis supplied.) We have described
Nebraska’s statutory grant of the right to appeal in these cases
as “generous.” See In re Conservatorship of Franke, 292 Neb.
912, 923, 875 N.W.2d 408, 417 (2016). Compare Unif. Probate
Code § 1-308, 8 (part I) U.L.A. 70 (2013).
   We have previously explained that the distribution of assets
from an estate is a proceeding in rem and that every person
interested in the distribution is entitled to appear on appeal.
See Clutter v. Merrick, 162 Neb. 825, 77 N.W.2d 572 (1956).
Heirs of the decedent are interested persons. See id. Under
§ 30-1601(2), Seth, individually, as an heir to Michael, was
directly “affected” by the county court’s “final order” ruling
that Nicole is also an heir under the decedent’s will, and there-
fore, Seth was enabled by statute to appeal, even if he had not
appeared below.
   Section 30-1601(2) also enables “any party” to take an
appeal. Milius, as personal representative of the estate, was
a party in the county court. Nicole’s contention that Milius,
as personal representative, lacks standing on appeal is with-
out merit.
                              - 123 -
          Nebraska Supreme Court Advance Sheets
                   308 Nebraska Reports
                   IN RE ESTATE OF BRINKMAN
                        Cite as 308 Neb. 117
   Finally, we note that in addition to her status as personal rep-
resentative, Milius also identified herself as next friend to Seth
in the notice of appeal. However, because Seth is no ­longer
a minor and instead is appearing individually in this appeal,
Milius’ previous next friend status is irrelevant. Accordingly,
we have jurisdiction and overrule Nicole’s motion to dismiss.
Construction of Will.
   We next turn to Seth and Milius’ assignments of error
regarding the county court’s construction of the will. They
generally object to Nicole’s taking under the will. They spe-
cifically contend that the will is not ambiguous or that if it is
ambiguous, such ambiguity is latent, and under the terms of the
will, Nicole was expressly disinherited by her exclusion from
the definition of “children” and “issue.” These assignments are
without merit.
   [8] The cardinal rule concerning a decedent’s will is the
requirement that the intention of the testator shall be given
effect, unless the maker of the will attempts to accomplish
a purpose or to make a disposition contrary to some rule of
law or public policy. In re Estate of Etmund, 297 Neb. 455,
900 N.W.2d 536 (2017). To arrive at a testator’s intention
expressed in a will, a court must examine the decedent’s will in
its entirety, consider and liberally interpret every provision in
a will, employ the generally accepted literal and grammatical
meaning of words used in the will, and assume that the maker
of the will understood words stated in the will. Id.   [9,10] When language in a will is clear and unambiguous,
construction of a will is unnecessary and impermissible. Id.Ambiguity exists in an instrument, including a will, when a
word, phrase, or provision in the instrument has, or is suscep-
tible of, at least two reasonable interpretations or meanings.
Id. Parol evidence is inadmissible to determine the intent
of a testator as expressed in his or her will, unless there is
a latent ambiguity therein which makes his or her intention
obscure or uncertain. In re Estate of Mousel, 271 Neb. 628,
715 N.W.2d 490 (2006). A latent ambiguity exists when the
                              - 124 -
         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                   IN RE ESTATE OF BRINKMAN
                        Cite as 308 Neb. 117
testator’s words are susceptible of more than one meaning, and
the uncertainty arises not upon the words of the will as looked
at in themselves, but upon those words when applied to the
object or subject which they describe. Id.   [11] In contrast, a patent ambiguity is one which exists
on the face of an instrument. Id. A patent ambiguity must be
removed by interpretation according to legal principles, and the
intention of the testator must be found in the will. Id.   The dispute regarding construction of the will focuses on
articles I and V, which we set forth below:
                              ARTICLE I.
         The references in this Will to my “son” refer to my
      son, SETH MICHAEL BRINKMAN. The references in
      this Will to my “children” and/or my “issue” shall include
      my son, SETH MICHAEL BRINKMAN, and all children
      of mine born or adopted after the execution hereof.
         ....
                             ARTICLE V.
         I give the residue of my estate to my issue, per stirpes.
(Emphasis supplied.)
   Contrary to the assertions of Seth and Milius, we agree
with the county court and conclude that by using the word
“include,” article I contains a patent ambiguity which must
be removed by harmonizing the expression therein with the
intention of the testator as it may be ascertained from the plain
provisions of the will. See Marsh v. Marsh, 92 Neb. 189, 137
N.W. 1122 (1912). As indicated above, in searching for the
intention of the testator, the court must examine the entire
will, consider each of its provisions, give words their generally
accepted literal and grammatical meaning, and indulge the pre-
sumption that the testator understood the meaning of the words
used. Gretchen Swanson Family Foundation, Inc. v. Johnson,
193 Neb. 641, 228 N.W.2d 608 (1975).
   [12] We previously considered the generally understood
meaning of the word “include” in a contract case in which
we were presented with the question of whether the word
                              - 125 -
          Nebraska Supreme Court Advance Sheets
                   308 Nebraska Reports
                   IN RE ESTATE OF BRINKMAN
                        Cite as 308 Neb. 117
“include,” on its own, was expansive or restrictive. Turning to
dictionary and legal definitions, we explained:
      The word “include” means “1. To contain, embrace, or
      comprise, as a whole does parts or any part or element
      . . . 2. to place in an aggregate, class, category, or the
      like. 3. To contain as a subordinate element; involve as
      a factor.” . . . [T]hese definitions support the conclusion
      that enumerated items in a list preceded by the word
      “include” are normally a part of the whole—not that the
      parts restrict the whole. Particularly in legal contexts, the
      “participle including typically indicates a partial list,”
      and this meaning holds true whether or not the drafter(s)
      added emphatic language such as “including but not lim-
      ited to.” Obviously, interpretative aids cannot override
      the parties’ clear intent when a contract is considered as
      a whole. But the word “include” preceding a list does not
      indicate an exclusive list absent other language showing
      a contrary intent.
Timberlake v. Douglas County, 291 Neb. 387, 398, 865 N.W.2d
788, 797 (2015).
   We find the foregoing explanation of the word “include”
applicable to the construction of the will in this case. The word
“include” in article I precedes a “list” of persons who are to be
added to the previously identified “children” and “issue.” The
definition of “issue” thus includes the “list” composed of Seth
and the decedent’s children born or adopted after the execution
of the will.
   Article V bequeaths the residue of the estate to the dece-
dent’s “issue,” per stirpes. Under the default definition pro-
vided of “issue of a person” in the Nebraska Probate Code,
Nicole is a linear descendant and thus a child or issue of
Michael. Neb. Rev. Stat. § 30-2209(23) (Reissue 2016) pro-
vides that “[i]ssue of a person means all his or her lineal
descendants of all generations, with the relationship of parent
and child at each generation being determined by the defini-
tions of child and parent contained in the Nebraska Probate
Code.” Consistent with the statutory provision, Nicole is not
                             - 126 -
         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                   IN RE ESTATE OF BRINKMAN
                        Cite as 308 Neb. 117
excluded from Michael’s use of “issue” simply because he
wished to note that Seth and other children born or adopted
later should be included. To include is not to exclude in this
context. And, article I’s reference to “issue” is consistent with
our conclusion under article I that both Seth and Nicole take
under the will.
   [13] In order to complete our analysis, we must review
the will to determine whether Michael intended to disinherit
Nicole from the definition of “children” or “issue” based on
any other provisions of the will read in harmony with the pro-
visions discussed above. “‘[A] testator will not be held to have
disinherited an heir except where that conclusion is impelled
by the express provisions or by necessary implication from
provisions specifically set forth.’ . . .” Jacobsen v. Farnham,
155 Neb. 776, 784, 53 N.W.2d 917, 922 (1952). We have
explained that an heir may not be disinherited upon conjec-
ture and that the heir “‘“is favored by . . . policy; and though
the testator may disinherit [the heir], yet the law will execute
that intention only when it is put in a clear and unambiguous
shape.” . . .’” Lowry v. Murren, 195 Neb. 42, 45, 236 N.W.2d
627, 630 (1975).
   No express statement disinherits Nicole or otherwise pro-
vides that she not receive from the estate, and we will not
speculate as to Michael’s intentions not contained in his will.
A close examination of the entirety of the will is contrary to
the suggestion of Seth and Milius to the effect that Nicole was
disinherited. For example, article VII states:
         If at any time before final distribution there shall not
      be in existence anyone who is, or might become, entitled
      to receive benefits under the foregoing provisions of this
      Will, any portion remaining shall be distributed to the
      persons to whom and in the proportions in which the
      same would have been distributed had I died intestate,
      domiciled in the State of Nebraska, owning such assets
      immediately following the death of the last survivor of
      the class composed of my issue and myself.
                             - 127 -
         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                   IN RE ESTATE OF BRINKMAN
                        Cite as 308 Neb. 117
Under this provision, Michael acknowledges that if Seth (and
any issue of Seth) predecease Michael, Nicole will inherit by
operation of law as though the estate had passed intestate. This
provision was an opportunity to disinherit Nicole had Michael
chosen to do so; he did not. We reject the contention of Seth
and Milius that Michael intended to disinherit Nicole in his
will and did so expressly. Milius and Seth’s assignments of
error are without merit.

                         CONCLUSION
   Giving full effect to the intentions of Michael as expressed
in the language of his will, we find no error by the county court
which concluded that Nicole was not disinherited and, to the
contrary, that Nicole was entitled to inherit under the provi-
sions of the will.
                                                     Affirmed.
